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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION, DAYTON

 PLINIO QUINONEZ,                           :
                                            :       Case No. 3:21-cv-159
                Plaintiff,                  :
                                            :       Judge Walter H. Rice
                v.                          :
                                            :
 IMI MATERIAL HANDLING                      :
 LOGISTICS, INC., et al.                    :
                                            :
                Defendants.                 :

   PLAINTIFF’S MOTION TO DISMISS DEFENDANTS NP DAYTON BUILDING IV,
    LLC, NPD MANAGEMENT, LLC AND NORTHPOINT DEVELOPMENT, LLC

        Now come Plaintiff Plinio Quinonez (“Plaintiff”), and Defendants NP Dayton Building

 IV, LLC, NPD Management, LLC and Northpoint Development, LLC (collectively “the

 Northpoint Defendants”), by and through counsel, and pursuant to Federal Rules of Civil

 Procedure 41(A)(2) respectfully requests this Court dismiss the Northpoint Defendants. If this

 Court grants the dismissal of the Northpoint Defendants, the Northpoint Defendants will dismiss

 all pending counterclaims and third-party claims. A Proposed Order is attached for this Court’s

 convenience.



                                          Respectfully submitted,

                                          WESTON HURD LLP

                                          /s/ Steven G. Carlino
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                                            Dayton Building IV, LLC, NPD Management, LLC
                                            and Northpoint Development, LLC




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                                            Counsel for Plaintiff


                                   CERTIFICATE OF SERVICE
         It is hereby certified that a copy of the foregoing document was filed electronically on
  August 12, 2024, with the Clerk of Court using this CM/ECG system and that a copy of the same
  was electronically transmitted to each of the parties via the same.


                                                /s/ Steven G. Carlino
                                                Steven G. Carlino (0073734)




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